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IN THE UNITED STATES DISTRICT COURT F iL FE
FOR THE DISTRICT OF NEW MEXICQitip sii

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DEAN KARCH, on his own behalf .
and on behalf of all others 65 JUN-3 PH 2:19
similarly situated, 29 U.S.C. § 216(b) Collective Action

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Plaintiff, | _ “ 6 36 MCA L°6

 

v. No.

CITY OF ALBUQUERQUE,

a municipal corporation, JURY TRIAL DEMANDED
Defendant.

COLLECTIVE ACTION COMPLAINT
(29 U.S.C. § 216(b))

COMES NOW Plaintiff Dean Karch, by and through his counsel, YOUTZ & VALDEZ, P.C,
(Shane C. Youtz and Stephen Curtice), and for his Complaint against the above-captioned Defendant,
states as follows:

1. Plaintiff is a resident of New Mexico.

2. Defendant City of Albuquerque is a “home rule” municipal corporation located in New
Mexico, and Plaintiff's employer.

3. This Court has jurisdiction pursuant to 28 U.S.C. § 1331 because this cause of action is
brought pursuant to the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.

4, Plainoff has been employed as a Lieutenant at the Metropolitan Detention Center,
jointly run by Defendant and the County of Bernalillo, for ten years.

5. Defendant classifies Plainuff as “exempt” under the FLSA. Despite this classification,
Plainuff's compensation and duties are such that he should be classified as “non-exempt.”

G. Duning the past three years Plainuff has routinely worked more than forty hours a week;
as a result of Defendant’s mis-classification, Plainuff was not given overtime pay for hours in excess of

forty, in violation of the FLSA.
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7. Defendant has had problems with mis-classtfication in the past. Recognizing that its
classifications were hopelessly incorrect, Defendant performed an audit of its classification scheme.
That audit was woefully inadequate. Further, contrary to provisions of the applicable collective
bargaining agreement and memoranda of understanding between Defendant and AFSCME Local 3022,
Defendant did not properly involve the Union in its self-serving audit.

8. Defendant’s refusal to properly classify its employees persisted beyond its internal audit.
Indeed, Plainuff ts not the only employee in Defendant’s employ who is muis-classified. Filed
concurrently with this complaint are consent te join notices of fourteen other emplovees of
Defendant’s, in several job classifications, who are also mis-classified as exempt. As with Plainuff, the
primary job duties and form of compensation of these opt-in plainuffs show that they should be
classified non-exempt under the FLSA. A class of employees also exists who have been classified as
non-exempt, but who have not received time and one half for hours worked beyond forty in a
workweck.

9. Like Plainnff, these opt-in pkuntiffs have regularly worked more than forty hours a week
without receiving overume compensation for those hours in excess of forty.

10. These opt-in plaintiffs represent the following job classifications: Family Development
Specialist, Head Teacher (Child Development Program), Transit Supervisor, Golf Course
Superintendent, Supervisor, and Case Management Employee. Plaintiff and all opt-in plaintiffs are
classified as M-Series employees under Defendant's classification scheme.

11. All opt-in employees, like Plaintff, are members of a bargaining unit represented by
AFSCME, Local 3022. Under Albuquerque’s Labor-Management Relations Ordinance, supervisors are
not permitted to bargain collectively through a union.

12. Defendant violated the FLSA (29 U.S.C. § 201 et seq.) by refusing to pay M-Series

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employces overtime for time worked in excess of 40 hours a week.

13. Such a violation was willful within the meaning of 29 U.S.C. § 255(a), particularly
considering Defendant’s past problems with classification, its failure to propertly remedy the past
violations though a cursory audit, and its refusal to involve the Union in its efforts to properly classify
employces.

14. Plaintff and opt-in plaintiffs scek money judgment for all overtime work performed by
not paid as defined and required by the FLSA (29 U.S.C. § 201 et seq.) for themselves and other
similarly situated employees in an amount to be determined bv the trial of fact and/or the Court,
together with all damages and costs allowed by 29 U.S.C. § 216.

15. —- Plaintiff and opt-in plaintiffs also seck a temporary and permanent injunction, pursuant
to 29 U.S.C § 216, prohibiting Defendant from further violating the FLSA (29 U.S.C. § 201 et seq.) by
refusing to pay Plainuff, opt-in plaintiffs, and all similarly situated employces, overtime wages for work
performed tn excess of 40 hours.

16. Plaintiff brings this action as a collective action, pursuant to 29 U.S.C. § 216(b), on
behalf of himself and a class representing all persons employed by Defendant classified as exempt in
the M-Setics.

17. The proposed class consists of over 700 current and former employees.

18. Common issues of law and fact exist, which make members of the collective action
similarly situated for purposes of a collective action including, but not limited to, the following:

a. Whether Defendant is an employer as that rerm is defined by the FLSA.
b. Whether Defendant’s failure to adequately address its admitted past
classification errors shows that its mis-classification is willful.

c. Whether Defendant properly classified the employees of the M-Series as

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exempt.
d. Whether a claim for violations of the FLSA can be made out under the facts
alleged herein.

19, A collective action is superior to other methods of resolving the controversy.

COUNT I: FAILURE TO SATISFY THE SALARY BASIS TEST

20. Contrary to the regulauons tmplementing the executive, administrative, and professional
exemptions to the FLSA, Defendant docs not pay employees in the M-Senes on a salaried basis.
Instead, Plaintiff, opt-in Plaintiffs, and all others similarly situated are patd on an hourly basis, and have
their weekly paycheck docked for absences less than a day.

21. Many of the opt-in plaintiffs are required to submit ume sheets with their hours. When
those hours exceed forty per week, many are then required to edit the time cards so that they
inaccurately reflect only 40 hours worked.

22. Defendant’s leave policy is not one enacted pursuant to principles of public
accountability, as that phrase is understood under the regulations implementing the FLSA.

23. By virtue of Defendant’s treatment of the members of this collective action as hourly
employees, rather than salaried employees, their classification of those same employees as exempt Is
incorrect under the regulations interpreting the FLSA.

COUNT II: MIS-CLASSIFICATION OF STATUS

24, Apart from the hourly narure of the employment of the members of the ‘collective
action, Defendant has improperly classified members of this collecuve action as exempt. These
employees do not meet the requirements of the executive, administrative, professional, or any other
relevant exemptions, under the FLSA, as implemented through regulation.

25, ‘Vhus, Defendant violated the FLSA by not paying those mis-classified employees

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overtime at one and a half times the normal hourly wage for work in excess of forty hours a week. As
a result, Plaintiff, opt-in plaintiffs, and all others similarly situated are entitled to damages, fees and
expenses as set forth in the FLSA. |

26. Defendant's failure to pay these wages was willful and intentional.

27, Asa direct and proximate result of Defendant’s failure to properly pay overtime wages,
Plamuff, opt-in plaintiffs, and all others similarly situated, have suffered damages in the form of lost
wages and lost use of such wages.

COUNT III: NON PAYMENT TO EMPLOYEES
CLASSIFIED AS NON-EXEMPT

24, Defendant has properly classified members GE this collective action as non-exempt, but
has not paid some of these non-exempt employces for time worked beyond forty hours in a given
workweek.

25. Thus, Defendant violated the FLSA by not paying those employees overtime at one and
a half times the normal hourly wage for work in excess of forty hours a week. Asa result, Plainaff, opt-

in plaintiffs, and all others similarly siruated are enutled to damages, fees and expenses as set forth in

the FLSA.
26. Defendant’s failure to pay these wages was willful and intentional.
27. Asa direct and proximate result of Defendant’s failure to properly pay overtime wages,

Plainuff, opt-in plaintiffs, and all others similarly situated, have suffered damages in the form of lost

wages and lost use of such wages.

CONCLUSION
WHEREFORE, Plainnff prays for:

a. That the class be certified under the FLSA as a collective action and that Plaintiff be
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allowed, at the earliest possible time, to give notice, or that the Court issue such notice, to all M-Series

employees of Defendant’s in all locations within New Mexico that this action has been filed, the nature

of the action, and of their right to opt in to this lawsuit if they worked overtime but were not paid for

such time;

b. Trial by jury;

c. Compensatory damages;
d. Liquidated damages pursuant to statute;
ec. A preliminary and permanent injunction pursuant to 29 U.S.C. 216 as the Court finds

appropriate to prohibit Defendant from further violating the FLSA;

E. Pre- and post- judgment interest as permitted by law;

g- Attorneys fees and such other and further relief as may be necessary and appropriate.

Dated: June 3, 2005

Respectfully submitted,

 
   

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